Case 5:20-cv-02636-JLS-SHK         Document 2    Filed 12/23/20    Page 1 of 8 Page ID #:2




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    8                             UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
   10

   11   JACOB LEE GAMBLE,                           ) Case No: 5:20-cv-02636
                                                    ) Hon:
   12                Plaintiff,                     )
                                                    ) DEFENDANT G4S SECURE
   13   v.                                          ) SOLUTIONS’S NOTICE OF
                                                    ) REMOVAL PURSUANT TO28
   14   BANK OF AMERICA                             ) U.S.C. §§ 1331, 1332, 1441, AND 1446
        CORPORATION, a Delaware                     )
   15   Corporation; G4S SECURE                     )
        SOLUTIONS, a Florida Corporation;           )
   16   and DOES 1 to 50, inclusive,                )
                                                    )
   17                Defendants.                    )
                                                    )
   18

   19           TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
   20   THE CENTRAL DISTRICT OF CALIFORNIA:
   21           PLEASE TAKE NOTICE that Defendant G4S SECURE SOLUTIONS
   22   (USA), INC. (“G4S”) hereby removes this action from the Superior Court of the
   23   State of California for the County of Los Angeles, to the United States District
   24   Court for the Central District of California pursuant to 28 U.S.C. §§ 1332, 1441,
   25   and 1446. The grounds for removal are as follows:
   26   ///
   27   ///
   28   ///
                                                     1
                                      DEFENDANT G4S NOTICE OF REMOVAL
        3810052v.1
Case 5:20-cv-02636-JLS-SHK       Document 2      Filed 12/23/20    Page 2 of 8 Page ID #:3




    1       I. BACKGROUND AND PROCEDURAL POSTURE
    2

    3           1.     On October 29, 2020, Plaintiff JACOB LEE GAMBLE (“Plaintiff”)
    4   filed a Complaint and thereby commenced this action in the Superior Court of the
    5   State of California for the County of Riverside, styled Gamble v. Bank of America
    6   Corporation; G4S Secure Solutions; and Does 1 through 50, inclusive, and
    7   assigned Case No. RIC2004308 (“State Court Action”). Hereinafter, Defendant
    8   G4S Secure Solutions
    9           2.     On November 23, 2020, Plaintiff served G4S with a Summons and a
   10   copy of the Complaint in the State Court Action. True and correct copies of the
   11   Summons, Complaint, other pleadings, process, and orders that have been served
   12   upon G4S and filed in the State Court Action are attached as Exhibit 1 to this
   13   Notice of Removal. Other than the documents attached as Exhibit 1 to this Notice
   14   of Removal, Plaintiff has not served any pleadings, process, orders, filings, or
   15   other documents upon G4S in the State Court Action. In the event that such other
   16   documents or filings come to G4S’s attention, G4S will immediately file copies in
   17   this Court.
   18           3.     On December 23, 2020, G4S filed a Notice of Removal with the
   19   identified department in the State Court Action.
   20           4.     Plaintiff has also filed suit against Bank of America, a Delaware
   21   corporation.
   22       II. TIMELINESS, JOINDER, AND VENUE
   23           5.     This Notice of Removal is timely filed under 28 U.S.C. § 1446(b)
   24   based on Plaintiff’s service of documents on November 23, 2020. This Notice of
   25   Removal is filed within 30 days of service and removal has been perfected within
   26   one year of the commencement of the action. Accordingly, this Notice of
   27   Removal is timely under 28 U.S.C. § 1446(b) and (c).
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                                      DEFENDANT G4S NOTICE OF REMOVAL
        3810052v.1
Case 5:20-cv-02636-JLS-SHK       Document 2      Filed 12/23/20   Page 3 of 8 Page ID #:4




    1           6.    As Does 1-50 have not yet been identified, all proper and active
    2   corporate defendants who have been named, joined, and served have consented to
    3   the removal of this action pursuant to 28 U.S.C. § 1446(b)(2).
    4           7.    The United States District Court for the Central District of California
    5   is the district within which the State Court Action is pending under 28 U.S.C. §§
    6   1441(a), 1446(a), and is, therefore, the proper venue for this action. See also C.D.
    7   Cal. General Order No. 19-03, § I.B.1.b.
    8           8.    In accordance with 28 U.S.C. § 1446(d), G4S promptly will file in
    9   the State Court Action a copy of this Notice of Removal and give written notice to
   10   Plaintiff by serving this Notice of Removal on counsel for Plaintiff.
   11           9.    This Notice of Removal is signed pursuant to Rule 11 of the Federal
   12   Rules of Civil Procedure, as required by 28 U.S.C. § 1446(a).
   13   REMOVAL IS PROPER BECAUSE THIS COURT HAS DIVERSITY
   14           JURISDICTION
   15           10.   The Court has diversity jurisdiction over this civil action under 28
   16   U.S.C. § 1332. As detailed below, this action is removable pursuant to 28 U.S.C.
   17   § 1441 because there is complete diversity between the parties and the amount in
   18   controversy exceeds the jurisdictional minimum.
   19                                     Diversity of Citizenship
   20           11.   For purposes of diversity jurisdiction, a natural person’s citizenship is
   21   determined by her “domicile,” which is defined as “her permanent home, where
   22   she resides with the intention to remain or to which she intends to return.” Kanter
   23   v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001). In the Complaint,
   24   Plaintiff notes that he resides in Riverside County, California. (Compl. ¶ 3.)
   25   Therefore, Plaintiff is a citizen of California.
   26   ///
   27   ///
   28   ///
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                                     DEFENDANT G4S NOTICE OF REMOVAL
        3810052v.1
Case 5:20-cv-02636-JLS-SHK       Document 2     Filed 12/23/20      Page 4 of 8 Page ID #:5




    1           12.   For purposes of diversity jurisdiction, “a corporation shall be deemed
    2   to be a citizen of every State and foreign state by which it has been incorporated
    3   and of the State or foreign state where it has its principal place of business.” 28
    4   U.S.C. § 1332(c)(1).
    5           13.   G4S is a corporation organized under the laws of Florida, with its
    6   principal place of business in Florida. The same was true as of October 29, 2020,
    7   and has been true at all times between then and now.
    8           14.   Accordingly, as of the time the Complaint was filed, and all times
    9   thereafter, G4S was and is a citizen of Florida.
   10           15.   As to Bank of America, as alleged and admitted by Plaintiff in the
   11   State Court Action, Bank of America Corporation is a Delaware Corporation with
   12   its principal place of business in Delaware. G4S is informed and believes that the
   13   same was true as of October 29, 2020 and has been true at all times between then
   14   and now.
   15           16.   As to “Doe” defendants, “the citizenship of defendants sued under
   16   fictitious names shall be disregarded” for purposes of determining whether a civil
   17   action is removable on the basis of diversity jurisdiction. 28 U.S.C. § 1441(b)(1).
   18           17.   Because, as established above, Plaintiff and G4S are citizens of
   19   different states, complete diversity exists in this case.
   20                                     Amount in Controversy
   21           18.   “To remove a case from a state court to a federal court, a defendant
   22   must file in the federal forum a notice of removal ‘containing a short and plain
   23   statement of the grounds for removal.’ 28 U. S. C. § 1446(a).” Dart Cherokee
   24   Basin Operating Co., LLC v. Owens, 574 U.S. 81, 83 (2014). “When removal is
   25   based on diversity of citizenship, an amount-in-controversy requirement must be
   26   met. Ordinarily, ‘the matter in controversy [must] excee[d] the sum or value of
   27   $75,000.’ § 1332(a).” Id., at 83-84. If the plaintiff’s complaint does not state the
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                                     DEFENDANT G4S NOTICE OF REMOVAL
        3810052v.1
Case 5:20-cv-02636-JLS-SHK        Document 2     Filed 12/23/20    Page 5 of 8 Page ID #:6




    1   amount in controversy—e.g., by demanding monetary relief of a stated sum—then
    2   the defendant’s notice of removal may do so. Id., at 84 (citing § 1446(c)(2)).
    3           19.    § 1446(a) provides that in order to adequately state the amount in
    4   controversy for purposes of removal jurisdiction, “a defendant’s notice of removal
    5   need include only a plausible allegation that the amount in controversy exceeds
    6   the jurisdictional threshold.” Dart Cherokee, 574 U.S. at 89. “[W]hen a
    7   defendant seeks federal-court adjudication, the defendant’s amount-in-controversy
    8   allegation should be accepted when not contested by the plaintiff or questioned by
    9   the court.” Id. at 87. Accordingly, “[e]vidence establishing the amount is
   10   required by § 1446(c)(2)(B) only when the plaintiff contests, or the court
   11   questions, the defendant’s allegation.” Id. at 89.
   12           20.    The allegations and theory of recovery set forth in the Complaint
   13   establish that, in the aggregate, the total amount in dispute here exceeds $75,000.
   14           21.    “[T]he amount in controversy is simply an estimate of the total
   15   amount in dispute, not a prospective assessment of [the] defendant’s liability.”
   16   Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 400 (9th Cir. 2010).
   17   Accordingly, “in assessing the amount in controversy, a court must ‘assume that
   18   the allegations of the complaint are true and assume that a jury will return a
   19   verdict for the plaintiff on all claims made in the complaint.’” Campbell v. Vitran
   20   Express, Inc., 471 Fed.Appx. 646, 648 (9th Cir. 2012) (quoting Kenneth
   21   Rothschild Trust v. Morgan Stanley Dean Witter, 199 F.Supp.2d 993, 1001 (C.D.
   22   Cal. 2002)).
   23           22.    Although G4S denies any liability as to Plaintiff’s claims, “it is more
   24   likely than not” that the amount in controversy in this action exceeds the $75,000
   25   jurisdictional minimum. See Sanchez v. Monumental Life Ins., 102 F.3d 398, 403-
   26   404 (9th Cir. 1996) (discussing whether “it is ‘more likely than not’ that the
   27   amount in controversy exceeds [the threshold] amount”) (internal citation
   28   omitted). Because “the amount-in-controversy inquiry in the removal context is
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                                      DEFENDANT G4S NOTICE OF REMOVAL
        3810052v.1
Case 5:20-cv-02636-JLS-SHK       Document 2     Filed 12/23/20    Page 6 of 8 Page ID #:7




    1   not confined to the face of the complaint,” the district court may consider facts
    2   plausibly alleged in a defendant’s notice of removal whether or not they appear in
    3   the plaintiff’s complaint. Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th
    4   Cir. 2004).
    5           23.    “[T]he amount in controversy is the ‘amount at stake in the
    6   underlying litigation.’ ” Fritsch v. Swift Transp. Co. of Ariz., LLC, 899 F.3d 785,
    7   793 (9th Cir. 2018) (quoting Gonzales v. CarMax Auto Superstores, LLC, 840
    8   F.3d 644, 648 (9th Cir. 2016)). That amount “includes any result of the litigation,
    9   excluding interests and costs, that ‘entails a payment’ by the defendant.”
   10   Gonzales, 840 F.3d at 648 (quoting Guglielmino v. McKee Foods Corp., 506 F.3d
   11   696, 701 (9th Cir. 2007)). In more concrete terms, the amount in controversy
   12   includes, depending on the claims and requests for relief, “damages
   13   (compensatory, punitive, or otherwise), the costs of complying with an injunction,
   14   and attorneys’ fees awarded under fee-shifting statutes or contract.” Fritsch, 899
   15   F.3d at 793.
   16           24.    Here, Plaintiff’s Complaint requests damages for special and
   17   economic damages, general and non-economic damages, incidental damages,
   18   punitive damages and costs related to litigation. See Compl. (Prayer for Relief).
   19   Plaintiff further alleges to have experienced “severe emotional distress” based on
   20   a “conscious disregard to Plaintiff’s rights and safety” in and a claim to support a
   21   prayer for punitive damages. (Plaintiffs Complaint, ¶ ¶ 15-17.) The Complaint
   22   specifies that the sum of damages sought renders the State Court Action an
   23   unlimited civil case—i.e., the amount in controversy exceeds $25,000. Cal. Civ.
   24   Proc. Code §§ 85, 86, 88.
   25   ///
   26   ///
   27   ///
   28   ///
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                                     DEFENDANT G4S NOTICE OF REMOVAL
        3810052v.1
Case 5:20-cv-02636-JLS-SHK       Document 2     Filed 12/23/20    Page 7 of 8 Page ID #:8




    1                       Monetary Damages
    2           25.   “[T]he amount in controversy is not limited to damages incurred prior
    3   to removal—for example, it is not limited to wages a plaintiff-employee would
    4   have earned before removal (as opposed to after removal). Rather, the amount in
    5   controversy is determined by the complaint operative at the time of removal and
    6   encompasses all relief a court may grant on that complaint if the plaintiff is
    7   victorious.” Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 414-15 (9th Cir.
    8   2018) In this regard, Plaintiff’s claim for monetary damages may, on its own,
    9   satisfied the amount-in-controversy requirement.
   10           26.   Plaintiff further alleges not only claims for general negligence but for
   11   intentional conduct giving rise to a prayer for punitive damages. If evaluated
   12   through the lens of Plaintiff’s theory of liability, it confirms that demand for
   13   monetary damages set forth in the Complaint satisfies the “good faith”
   14   requirement for purposes of removal under 28 U.S.C. § 1446(c)(2).
   15           27.   As a part of Plaintiff’s “general damages” prayer for relief, G4S
   16   reasonably and in good faith anticipates plaintiff to allege unspecified amount of
   17   damage for emotional distress, anguish and the like. Emotional distress damages
   18   may be considered in determining the amount in controversy. See Kroske v. U.S.
   19   Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005). A defendant may introduce
   20   evidence of jury verdicts in other cases as evidence of a plaintiff’s potential
   21   emotional distress damages. Cain v. Hartford Life & Accident Ins. Co., 890 F.
   22   Supp. 2d 1246, 1250 (C.D. Cal. 2012); see also Kroske, 432 F.3d at 980 (holding
   23   that a district court did not err in concluding that emotional distress damages
   24   added at least $25,000 to the amount in controversy based in part on “emotional
   25   distress damage awards in similar age discrimination cases in Washington”). Jury
   26   verdicts may inform the amount in controversy inquiry even absent factual
   27   identity; district courts typically will consider jury verdicts rendered on facts and
   28   legal claims that are at least “analogous” or “similar” to those at issue in the
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                                     DEFENDANT G4S NOTICE OF REMOVAL
        3810052v.1
Case 5:20-cv-02636-JLS-SHK       Document 2     Filed 12/23/20    Page 8 of 8 Page ID #:9




    1   removed case. See, e.g., Castillo v. ABM Indus., Inc., 2017 U.S. Dist. LEXIS
    2   192939, 2017 WL 5609791, at *3-4 (C.D. Cal. Nov. 20, 2017) (“Such cases must
    3   be factually analogous, but they need not be identical.”); Ponce v. Medical
    4   Eyeglass Ctr., Inc., 2015 U.S. Dist. LEXIS 98517, 2015 WL 4554336, at *4
    5   (finding “similar cases” sufficient to determine that potential emotional distress
    6   award was more than nominal, without deciding if the examples were “sufficiently
    7   analogous” to, or “quantifying the exact value” of, the plaintiff’s claim for
    8   emotional distress damages); see also Cain, 890 F. Supp. 2d at 1250-51 (looking
    9   to “other insurance bad faith cases” as examples to estimate the value of claimed
   10   damages for emotional distress).
   11           IV. CONCLUSION
   12   For these reasons, G4S respectfully request that this case be removed from
   13   California state court to this Court.
   14

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   16   Dated: December 23, 2020                        WILSON, ELSER, MOSKOWITZ,
                                                          EDELMAN & DICKER LLP
   17

   18                                               By:
                                                      Ashley R. Morris
   19                                                 Attorneys for Defendant, G4S
                                                      SECURE SOLUTIONS
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                                     DEFENDANT G4S NOTICE OF REMOVAL
        3810052v.1
